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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,
et al.,

     Plaintiffs,

     v.

GINA RAIMONDO, et al.,               C.A. No. 18-112 (JEB)

     Federal Defendants,

     and

MAINE LOBSTERMEN’S ASSOCIATION,
INC., et al.,

     Defendant-Intervenors.


DEFENDANT-INTERVENOR MASSACHUSETTS LOBSTERMEN’S ASSOCIATION’S
    MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION
                   FOR SUMMARY JUDGMENT
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I.     INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7(h), the Massachusetts

Lobstermen’s Association (“MALA”), by its undersigned counsel, respectfully submits this

memorandum of law in opposition to plaintiffs’ motion for summary judgment.

       Briefs already filed by the National Marine Fisheries Service (“NMFS”), the State of

Maine, the Maine Lobstermen’s Association, and the Maine Lobstermen’s Union provide ample

reasons for this Court to deny the Plaintiffs’ motion for summary judgment. In the interest of

judicial economy and efficiency, MALA has sought in this brief to avoid repeating arguments

made by other parties. To that end, this brief makes two principal liability arguments. First,

NMFS regulates, but does not authorize, fishing in state waters. That is important because

Plaintiffs’ challenge in this case focuses on what NMFS’ actions allow to take place. Plaintiffs

have pointed to nothing that would prevent NMFS from doing what is has done: authorizing (and

issuing an Incidental Take Statement) on behalf of the federal fishery, and instructing the states to

apply for their own Incidental Take Permits under the Endangered Species Act (“ESA”). Second,

Plaintiffs have misread 16 U.S.C. § 1387, which they rely upon heavily to support their argument

that NMFS has failed to comply with the Marine Mammal Protection Act (“MMPA”).

Preliminarily, it is unclear whether any “mandates” even exist under the MMPA. But even if they

do, the event that triggers NMFS’ obligations (if any) under 16 U.S.C. § 1387(f) is full

implementation, not enactment of the Final Atlantic Large Whale Take Reduction Plan Rule (the

“Final Rule”). Because implementation of the Final Rule is not expected to finish until 2031,

Plaintiffs’ MMPA claims (however packaged) are not ripe for adjudication.

       Plaintiffs’ unstated goal in this litigation is clear: they seek to end lobster fishing in its

current form and force widespread adoption of “ropeless” fishing, a technology that is not viable

today and won’t be for years to come, if ever. To that end, plaintiffs request that the Court vacate

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the 2021 Biological Opinion (“2021 BiOp”), a result that likely will lead to the closure of the

federal fishery. Any such result would have a devastating impact on the men and women who

work in the American lobster fishery, their families, and their communities.1 Plaintiffs would like

to avoid discussion of these people altogether, content to explore the twists and turns of complex

statutory and regulatory frameworks. But this Court wields tremendous power, with the potential

to cause catastrophic harm to those who live within the facts of this case every day. Many of the

parties have requested additional briefing on the issue of remedy in the event that the Court grants

the Plaintiffs summary judgment on liability. MALA joins that request, but also provides this

Court with preliminary briefing on the topic.

II.    BACKGROUND

       a.      Statutory Framework

               i.      The Endangered Species Act.

       The Endangered Species Act (the “ESA”) requires that “[e]ach Federal agency . . . insure

that any action authorized, funded, or carried out by such agency . . . is not likely to jeopardize the

continued existence of any endangered species.” 16 U.S.C.§ 1536(a)(2). Parallel regulations

require that “[e]ach Federal agency . . . review its actions at the earliest possible time to determine

whether any action may affect listed species.” See 50 C.F.R. § 402.14(a). Where such agency

action is deemed likely to affect a listed species, the agency must engage in consultation with an




1
  Maine Lobstermen’s Association, in a parallel proceeding in which MALA has intervened as an
intervenor-plaintiff, has raised significant concerns regarding the process NMFS employed to
promulgate the 2021 BiOp and the conclusions NMFS has reached in that document. See Maine
Lobstermen’s Association et al. v. Ross et al., C.A. No. 1:21-cv-02509-JEB (D.D.C.). MALA’s
brief in this matter opposing plaintiffs’ motion for summary judgment should not be read to reflect
an endorsement of NMFS’ process or specific findings. Plaintiffs’ challenges, however, are flawed
and should be rejected.

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“expert agency.” Id. In this case, both the action agency and the expert agency are housed within

the National Marine Fisheries Services (“NMFS”). See ECF No. 91 at 3.

       As initially drafted, the ESA contained limited relief for an agency or actor whose actions

were deemed to create a risk of incidental take of a listed species. See Tennessee Valley Authority

v. Hill, 437 U.S. 153, 171 (1978). Following the Supreme Court’s decision in TVA, however,

Congress amended the ESA in several ways “so that it may be more flexible in application.” See

Strahan v. Secretary, Massachusetts Executive Office of Energy & Environmental Affairs, 519

F.Supp.3d 65, 68 (D. Mass. 2021); see also Endangered Species Amendments of 1982, Pub. L.

No. 97-304, § 6, 96 Stat 1411 (1982); Endangered Species Act Amendments of 1978, Pub. L. No.

95-632, § 3, 92 Stat. 3751 (1978). These amendments created the modern incidental take permit

provisions (16 U.S.C. § 1539).

       During consultation, the expert agency analyzes whether the proposed agency action will

violate Section 1632(a)(2)’s prohibition on jeopardizing the continued existence of endangered

and threatened species. This consultation results in a biological opinion.        See 50 C.F.R. §

402.14(g). Where the expert agency concludes in its biological opinion that the proposed action

will jeopardize the continued existence of the species, it issues a “jeopardy” decision. See 50

C.F.R. § 402.14(h)(1). Where such action is not deemed such a threat, a “no jeopardy” finding is

appropriate. Id. A “no jeopardy” finding may issue only if the expert agency determines: (1) the

project does not threaten the continued existence of the listed species; (2) any incidental take from

the project does not threaten the continued existence of the species; and (3) any incidental take

from the project does not violate § 101(a)(5) of the Marine Mammal Protection Act . . . which

requires that there be no more than a negligible impact on the species. ECF No. 91, at 5 (citing 16

U.S.C. §§ 1536(b)(4)(A)-(C), 1371(a)(5); 50 C.F.R. § 402.14(i)(1)).



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       Where the expert agency makes a “no jeopardy” finding, it may issue an Incidental Take

Statement (“ITS”), provided that such statement: “(i) specifies the impact of such incidental taking

on the species; (ii) specifies those reasonable and prudent measures that the Secretary considers

necessary or appropriate to minimize such impact; (iii) in the case of marine mammals, specifies

those measure that are necessary to comply with section 1371(a)(5) [of the Marine Mammal

Protection Act] with regard to such taking; and (iv) sets forth the terms and conditions (including,

but not limited to, reporting requirements) that must be complied with by the Federal agency or

applicant (if any), or both, to implement the measures specified under clauses (ii) and (iii).” See

16 U.S.C. § 1536(b)(4). An ITS must be produced whenever the expert agency concludes that

incidental takes are reasonably certain to occur. See 50 C.F.R. § 402.14(g)(7).

                 ii.   The Marine Mammal Protection Act.

       The MMPA was enacted in 1972 for the protection of marine mammals. See 16 U.S.C. §

1361(6); 86 Stat. 1027. As a general rule, the MMPA bars “the taking and importation” of all

marine mammals. 16 U.S.C. § 1371(a). Compliance with Section 1371(a)(5) of the MMPA is

required by the ESA where an activity is likely to impact marine mammals. See 16 U.S.C. §

1536(b)(4)(C).

       The MMPA contains exemptions to its strict requirements. Commercial fishing operations,

for example, are allowed incidental takes where such takings are approved by NMFS in

compliance with the ESA, the MMPA, and each statute’s accompanying regulations. See 16 U.S.C.

§ 1371(a)(1). Where NFMS determines that “the incidental mortality and serious injury from

commercial fisheries will have a negligible impact on such species or stock” (amongst other

things), it must allow incidental takes by such fisheries. See 16 U.S.C. § 1371(a)(5)(E)(i). A

negligible impact is “an impact resulting from specified activity that cannot be reasonably expected



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to, and is not reasonably likely to, adversely affect the species or stock through effects on annual

rates of recruitment or survival.” See 50 C.F.R. § 216.103.

       Unlike the ESA, the MMPA does not have a citizen’s suit provision – private plaintiffs

therefore cannot bring a cause of action under the MMPA. See Strahan v. Coxe, 127 F.3d 155,

160 (1st Cir. 1997).

               iii.    The Administrative Procedure Act.

       The Administrative Procedure Act (“APA”) provides an avenue for review of executive

agency action by an Article III court. See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513

(2009). Because the MMPA does not contain a citizens’ suit provision, Plaintiffs may only

challenge alleged MMPA violations through the APA. See NRDC v. Evans, 279 F.Supp.2d 1129,

1142 (N.D. Cal. 2003).

       b.      The North Atlantic Right Whale and Its History

               i.      The North Atlantic Right Whale: Habitat, Food, Migration Patterns

       The North Atlantic Right Whale (“NARW”) is a large, highly migratory species of baleen

whale. Rule_12178-9. NARWs range from the coastal waters off of Jacksonville, Florida to the

Gulf of St. Lawrence and beyond. BiOp_1153-54. NARWs historically have followed a fairly

predictable annual migratory pattern. BiOp_1161. NARWs are known to spend the early winter

months in warm waters off the coast of Florida, migrating north to Cape Cod Bay and surrounding

waters in late January or early February of each year. BiOp_33368; 33372. In April or May of

each year, NARWs traditionally have migrated north, to the Bay of Fundy. Rule_12179. In recent

years, likely as a result of climate change, NARWs have migrated further north, to the Gulf of St.

Lawrence.    BiOp_1153; Rule_12179; BiOp_1161.           In late fall, NARWs have traditionally

migrated south again, back to coastal waters off of Florida, to reproduce. BiOp_1161.



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       NARWs primarily eat copepods. BiOp_1153. NARWs’ migration pattern is largely

correlated with prevalence of copepods in the spring, summer, and fall months. Rule_12179. The

recent changes in NARW migratory behavior, resulting in migration to the northern Gulf of St.

Lawrence, rather than the Bay of Fundy, is correlated with the rapid warming of the Gulf of Maine

and the corresponding decline in copepod population in the western Gulf of Maine. BiOp_1153

(noting changes in C. finmarchicus distributions since 2010, with increased presence on the

continental shelf south of New England and the Gulf of St. Lawrence); see also BiOp_5697-5708

(“Projecting the effects of climate change on Calanus finmarchicus distribution within the U.S.

Northeast Continental Shelf”).

       Estimates of the NARW population prior to human intervention range from around 1,000

to over 21,000 members of the species. BiOp_54032. In the early 1900s, NARWs were almost

driven to extinction; current estimates indicate that the NARW population in 1935 was

approximately 100. BiOp_24884; BiOp_71545. In 1992, the NARW population was estimated

at 295 members. BiOp_69964. In the 1990s and 2000s, the NARW population rebounded,

reaching a minimum estimated population of around 455 whales in 2010. BiOp_71545. The

population peaked in 2011 at an estimated 481 animals. BiOp_1162. Around that time, however,

despite increased conservation measures in the United States at both the state and federal levels,

the NARW population began to decline.




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Rule_12181; BiOp_24885; BiOp_26012. This decline coincided with increased evidence of

NARW presence in the Gulf of St. Lawrence where NARWs were not previously known to

aggregate in large numbers. BiOp_26012 (noting that “there seems to have been a considerable

change in right whale habitat use patterns in areas where most of the population has been observed

in previously years exposing the population to additional anthropogenic threats”). In 2017, tragedy

struck: between June 6, 2017 and September 15, 2017, twelve NARWs were spotted dead in the

Gulf of St. Lawrence. BIOP_18652. An additional five NARWs were found alive but entangled

in snow crab fishing gear from July 5 to August 28, 2017. BIOP_18655. Hindcast analyses (a

complex computer analysis which attempts to pinpoint the location at which an object began its

drift) (BiOp_18713) have demonstrated that these dead NARWs almost certainly became

entangled and died in or near the Gulf of St. Lawrence:




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BiOp_18653. Following these tragic deaths, NMFS declared an unusual mortality event (“UME”)

in 2017, which remains ongoing as of the date this brief was filed. BiOp_26017.

       When a NARW is found entangled in gear NMFS attempts to do an analysis of the origin

of the gear, assigning, where possible, a country and fishery. See e.g. Rule_29053-29077. From

2014 to 2021, NMFS was able to ascertain the country of origin for 24 entangled NARWs. See

Rule_29071. Of these 24 NARWs, 20 were entangled in gear confirmed to have originated in

Canada. Id. And of the four entanglements from suspected U.S. fishing gear, only one resulted in

serious injury or mortality, compared to 11 instances of serious injury or mortality out of 20

recorded instances of entanglement in Canadian-set gear. Id.

       Commercial fishing gear represents only one of many threats to NARWs. BiOp_26017.

NARWs are also known to be killed or seriously injured in ship strikes. Id. (noting that from 2014

through 2017, average reported mortality and serious injury to right whales due to vessel strikes

was 1.3 whales per year).




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       c.      The American Lobster Fishery and Fishing in Massachusetts

       NMFS estimates approximately 3,970 vessels currently fish traps or pots in the Northeast

American Lobster Fishery. Rule_3896. It is difficult to overstate the economic significance of

lobster and Jonah crab fishing for New England communities. Collectively, New England fishers

land at least $628 million per annum in ex-vessel (dock-side) revenue attributed to trap/pot lobster

and Jonah crab landings. Rule_3898. Indeed, some fishing communities rely almost exclusively

on target species governed by the Atlantic Large Whale Take Reduction Plan (“ALWTRP”) like

lobster and Jonah crab. For instance, Norfolk County, MA (99%), York County, ME (93%), Knox

County, ME (92%), and Rockingham County, NH (91%) all harvest at least 90% of their collective

catch from ALWTRP-effected species.          Rule_3903.     NMFS’ Final Environmental Impact

Statement (“EIS”) makes clear that these counties represent a sizable number of fishers. NMFS

estimates, for instance, that Essex County, in Massachusetts, employs between 579 and 856 fishers

on ALWTRP fishing vessels alone, with the annual Essex County ALWTRP catch estimated at

$30,202,297 in ex-vessel (dock-side) revenue. Id. The same EIS confirms that many coastal

counties in New England are “vulnerable to adverse social impacts form ALWTRP regulations”

and are thus at significant risk from a closure of the American Lobster Fishery. Rule_3900.

               i.      The Importance of Lobster and Jonah crab to Massachusetts Coastal
                       Communities

       Lobster and Jonah Crab fishing play a central role in the economic and social life of

Massachusetts coastal communities. NMFS estimates that Essex, Barnstable, and Bristol counties

each land more than $15 million per annum from ALWTRP trap/pot gear. Rule_3901. In total,

Massachusetts fishers land between $80-100 million in lobster alone each year. See “Indicative

Ruling as to Liability and Remedies,” Strahan v. Secretary, Massachusetts Executive Office of

Energy and Environmental Affairs, et al., C.A. No. 1:19-cv-10638, ECF No. 614, at 32 (Nov. 11,


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2021) [hereinafter “Indicative Ruling”].2 In 2020, Massachusetts fishers landed 15,763,212

pounds of live American lobster, worth $78,604,366. See Casoni Decl. at ¶ 13. Fishers landed

8,649,738 pounds of Jonah crab in 2020, worth $7,059,428. Id. In 2020, Lobster was the second

most valuable target species landed in Massachusetts ports; Jonah crab was sixth. See id. What’s

more, for many coastal communities in Massachusetts, fishing is a multi-generational way of life.

See Lorentzen Decl. at ¶ 6; Browne Decl. at ¶ 12. The overwhelming majority of Massachusetts

lobster and Jonah crab fishers are small businessmen and women. The fishery as a whole is

characterized by owner-operated two and three-person vessels. Lorentzen Decl. at ¶ 5; Casoni

Decl. at ¶ 13. Many fishers have never done anything other than fish. See e.g. Lorentzen Decl. at

¶ 4. A closure of federal waters to lobster fishing would be devastating to many Massachusetts

fishermen who rely on those waters for revenue during a substantial portion of the calendar year.

See e.g. Lorentzen Decl. at ¶ 15; Browne Decl. at ¶¶ 14, 15.

       The significance of the lobster fishery to Massachusetts coastal communities does not end

at the shoreline. Many coastal businesses work closely with lobster fishers. See e.g. Browne

Decl. at ¶¶ 3-9. Entire families can and often are involved in various aspects of this coastal

economy. Browne Decl. at ¶ 10. Indeed, in communities like Gloucester, MA, lobster fishing

forms the core of a vibrant coastal economy, with wholesalers, distributors, vessel repair shops,

and gear shops relying on the continued operation and economic vitality of the lobstering industry.

Indicative Ruling at 33; Browne Decl. at ¶ 10. NMFS, in its Final EIS noted that for Essex,




2
  The Indicative Ruling, referenced above, contains findings of fact by the U.S. District Court for
the District of Massachusetts in the Strahan litigation in 2021. This Court is permitted to take
judicial notice of that decision in weighing the equities of a potential order vacating the 2021 BiOp.
Fed. R. Evid. 201.

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Barnstable, and Bristol counties of Massachusetts, the exposure to “adverse [social] impacts may

be substantial.” Rule_3901.

                ii.   The Growing Significance of Jonah Crab in Southeastern Massachusetts

        Although lobster remains the primary target species for much of Massachusetts’ trap/pot

fishers, Jonah Crab is an increasingly important species, particularly for fishers fishing waters

south of the Cape Cod peninsula. See Casoni Decl. at ¶ 8. Lobsters and Jonah Crab are highly

dependent on water conditions. As waters off the coast of Massachusetts have warmed, lobsters

have migrated north and further into federal waters, and Jonah Crab have increased in abundance

in their place. BiOp_1101. Indeed, according to NMFS’ 2021 Biological Opinion, Johan Crab

landings have “increased dramatically since 1990.” Id.; see also BiOp_1102. “The trend of

increasing Jonah crab landings in the late 1990s coincides with the collapse of the Southern New

England lobster stock and a decrease in lobster landings, suggesting harvesters turned to Jonah

crab to supplement their income.” BiOp_1101. Thus, in recent years, Jonah crab fishing has

become an important source of revenue for many southeastern Massachusetts fishers. See Casoni

Decl. at ¶ 8.

        d.      Conservation Efforts to Date3

                i.    The 2021 Final Rule.

        Following this Court’s decision in April of 2020 and the issuance of the 2021 BiOp, on

September 17, 2021, NMFS released the Final Rule. The Final Rule contains a host of additional

conservation measures which NMFS believes will have a positive impact on conservation of

NARW. Rule_6448. Such measures include:




3
  MALA respectfully refers this Court to its Opening Brief on Remedy (ECF No. 115), at 6-9 for
a fuller discussion of pre-2021 conservation measures.

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                        1.      Reduction of Vertical Lines.

         The Final Rule requires that certain fishers “trawl up,” or increase the number of traps per

trawl. This has the effect of decreasing the number of vertical end lines (sometimes referred to as

“buoy lines”) in the water column. Rule_6449.

                        2.      Gear Modification Requirements.

         Prior to the Final Rule, fishers were not limited in the strength of the rope they used to fish

in federal waters.4 Fishers often used thick, strong rope with high breaking strength. BiOp_1089.

Following academic research into entanglement events, however, the TRP adopted a new rule

requiring the use of “weak” rope or rope inserts, which would break at 1,700 pounds breaking

force – lower than the breaking force strength of gear deemed to cause serious injury and mortality

to NARWs. Id. The purpose of this new requirement was to limit the impact of an entangling

event on a NARW. BiOp_1090. Following issuance of the Final Rule, lobster fishers must now

use entirely weak rope or insert weak rope inserts at specified intervals in their end lines.

Rule_6450-6451.

                        3.      Gear Marking Requirements.

         In addition to new weak inserts, NMFS’ Final Rule mandated adoption of a new gear

marking regime. A historical problem with analyzing entanglement data is a lack of identifying

information on much of the gear found on entangled NARWs. BiOp_1296. The new gear marking

requirements will allow investigators to identify the specific location from which the entangling

rope came. Rule_6451.




4
    This was not true in Massachusetts, which had adopted weak rope regulations earlier in 2021.

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                      4.      Additional and Expanded Seasonal Closures.

       Two seasonal closure areas already existed prior to the 2021 Final Rule in state and federal

waters around Massachusetts: the Massachusetts Bay Restricted Area and the Great South Channel

Restricted Area. Rule_6449. The Final Rule modifies these two existing seasonal closure areas

and creates two additional seasonal closure areas. Id. The Final Rule also creates two additional

restricted time-space closures: the LMA 1 Restricted Area (which is in effect from October through

January of each year) and the South Island Restricted Area, which is closed from February through

April of each year. Id.




Rule_6450.    Taken together, the 2021 Final Rule dramatically increases the (i) scope of

environmental regulations aimed at protecting the North Atlantic Right Whale, and (ii) burden

placed upon Massachusetts lobster fishers.

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               ii.    Massachusetts Conservation Regulations.

       Massachusetts lobster fishing regulations are particularly conservation-friendly.       For

instance, Massachusetts requires the use of sinking ground lines year-round, 322 C.M.R.

12.06(3)(a), and a 600 lb. break-away link at the base of surface buoys. 322 C.M.R. 12.06(2)(a)

(“Weak Link Requirement”). In 2021, Massachusetts became the first jurisdiction in the nation to

mandate the use of weak rope or weak contrivances (breaking at 1,700 lbs. or less). 322 C.M.R.

12.06(2)(b) (“Buoy Line Breaking Contrivance”). Massachusetts fishermen also are limited in the

buoy-line rope diameter they can use: all such lines must be 3/8” or less. 322 C.M.R. 12.06(2)(e)

(“Restrictions on Buoy Line Diameters”). The Commonwealth also extended the seasonal closure

of state waters to the New Hampshire border, closing waters off the coast of the North Shore for

the first time from February until at least April, and in some cases until May 15 of each year. 322

C.M.R. 12.04(2) (“Trap Haul-Out Period”). In addition, speed limits and the seasonal three-month

closure of the Massachusetts Bay Restricted Area dramatically reduce risk to NARWs. Id.; see

also 322 C.M.R. 12.05 (“Speed Restrictions to Protect North Atlantic Right Whales”).

       e.      There is No Current Alternative to Lobster Pot Fishing since “Ropeless”
               Fishing is Not Viable

       The evidentiary record unequivocally demonstrates that ropeless fishing5 is not currently

viable. Indeed, NMFS, which has advocated for the development of ropeless fishing technology,

acknowledges in the Final Rule that Ropeless is not ready for general use.

       Given the high cost of ropeless retrieval technology, for the foreseeable future,
       industry participants are likely to depend on loans of gear purchased by the
       Northeast Fisheries Science Center for ropeless research collaborations. By 2025,
       we anticipate this would allow up to 33 fishermen to fish with up to 10 trawls each

5
  “Ropeless” fishing is somewhat of a misnomer; ropeless fishing gear may better be described as
“on demand” gear, because the gear includes a remote-triggered release function which releases a
rapidly-inflating buoy to the surface with line attached. The technology nevertheless represents a
method for reducing permanent rope in the water column, as the gear does not have rope in the
water column when it is not being actively hauled. BiOp_1308.

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       in the Northeast Region, including the restricted areas. Because they would be
       fishing under Federal exempted fishing permits (EFP) or equivalent state
       authorization, conditions to minimize impacts on the natural and human
       environment will likely include some area restrictions, reporting and monitoring
       requirements, gear marking of any stored buoy line, and evidence of
       communication and collaboration with adjacent fixed and mobile gear fishermen to
       minimize gear conflicts.

Rule_6449. There are two primary reasons why ropeless gear has not been widely adopted: cost

and gear conflict. The typical Massachusetts lobsterman fishes 800 traps, in trawls of 20 or fewer

traps. See Casoni Decl. at ¶ 19; Lorentzen Decl. at ¶ 9. Thus, a typical Massachusetts lobsterman

fishes approximately 40 trawls, with a buoy attached to each end to show the fisher where the trawl

is set. Each ropeless device is expensive: as of the summer of 2021, the cost was estimated at

approximately $4,000 per unit. Indicative Ruling at 31. Thus, assuming that each fisher was

required to outfit each end of his or her trawl with a ropeless buoy, the total cost to outfit a single

lobsterman would be approximately $160,000 – more than 1% of the entire ex-vessel revenue

derived from the Massachusetts lobster fishery each year. Indicative Ruling at 31.

       Gear conflict presents additional concerns. A secondary (but important) benefit of visible

buoys on the surface of the ocean is that other fishers operating mobile fishing platforms (sea

scallopers, for instance) can see where trap/pot trawls are set, and thus avoid running over them.

Lorentzen Decl. at ¶ 9, 11-13. This is important, because if a scalloper catches a trawl, it will drag

the trawl – making it almost impossible to find again without surface buoys. Lorentzen Decl. at

¶ 11-13. Such gear conflict can also prove dangerous – a dragger whose line has become

overweighted runs a serious risk of capsizing.         Casoni Decl. at ¶ 20. These risks are not

hypothetical. In recent years, a vessel capsized and a crew member died as a result of gear conflict.

Id. In the Indicative Ruling, the Federal Court for the District of Massachusetts expressly

recognized that ropeless technology was not ready for mass adoption. Indicative Ruling at 31.



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III.   PROCEDURAL HISTORY

       On May 27, 2021, NMFS issued a new biological opinion. ECF No. 125. On September

9, 2021, the plaintiffs moved to amend their complaint, adding new claims arising from the 2021

Biological Opinion. ECF No. 167. On September 10, 2021, this Court granted the plaintiffs’

unopposed motion to file their amended complaint. On September 17, 2021, NMFS issued its new

Final Rule. Rule_6447. On December 20, 2021, the plaintiffs filed their motion for summary

judgment. ECF No. 188. On January 14, 2022, NMFS filed its administrative record with this

Court. ECF No. 193. On February 7, 2022, this Court granted MALA’s request for a one week

extension to file its cross-motion for summary judgment. On February 14, 2022, the defendants

and defendant-intervenors (aside from MALA) filed their oppositions and/or cross-motions for

summary judgment. ECF Nos. 197-203.

IV.    ARGUMENT

       a.      Standard of Review

       Agency actions under the ESA and the APA are reviewed under an “arbitrary and

capricious” standard. See 16 U.S.C. § 706(2)(A) (APA standard); Nat’l Ass’n of Home Builders

v. Norton, 415 F.3d 8, 13 (D.C. Cir. 2005) (ESA claims reviewed under APA “arbitrary and

capricious” standard); see also ECF No. 188-1 at 11.6

       b.      States, Not NMFS, Authorize Fishing in State Waters

       Defendants and the other Intervenor-Defendants have raised many strong arguments

supporting the denial of Plaintiffs’ motion for summary judgment. MALA emphasizes here an




6
  Addressed at length in others of the defendants’ and intervenor-defendants’ briefs are the
standards relating to “unlawfully withheld or unreasonably delayed” claims. Because MALA does
not specifically address this component of Plaintiffs’ claims in this brief, it respectfully refers the
Court to other parties’ briefing on the proper standard of review for such cases.

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additional point which it believes should be important to this Court’s analysis: NMFS’ mandate

to the states regarding continued operation of state fisheries.

       Plaintiffs contend that NMFS has improperly cut state waters out of the 2021 BiOp. See

ECF No. 188-1, at 16-21 (“NMFS improperly defined the action area and improperly reclassified

the impacts of lobster fishing in state waters as cumulative effects rather than effects of the action,

rendering its effects analysis and no-jeopardy determination unlawful”). Plaintiffs’ argument

reflects a fundamental misunderstanding of the relationship between state and federal regulatory

regimes, however. States, not the federal government, regulate the right to fish in state waters.

Compare 322 C.M.R. 7.01(2)(a) with 50 C.F.R. § 697.4. For example, if a lobstermen wishes to

fish in state waters off the coast of Gloucester, Boston, Hull, or New Bedford (all fishing ports in

Massachusetts), he or she would need to procure a fishing permit from the Massachusetts Division

of Marine Fisheries, not NMFS. If that same fisher were interested in venturing outside of the

three-mile state-line threshold that typically demarcates state and federal waters, he or she would

need a federal fishing permit issued by NMFS:




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See Casoni Decl. at ¶ 14. In the diagram above, for instance, statistical reporting areas 1-15 are

primarily state waters, while statistical reporting areas 16-25 are primarily federal waters. See id.

Lobstermen fishing in state waters must apply for and receive a state fishing permit from the

Division of Marine Fisheries. See 322 C.M.R. 7.01(2)(a). Federal waters lobstermen must have




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federal permits issued by NMFS. 50 C.F.R. § 697.4. For this reason, many lobstermen are “dually

permitted,” simultaneously holding permits for both the state and federal fisheries.7

        Lobstermen often argue that their industry is overregulated, and with good reason. Those

fishing in state waters must adhere to the regulatory regime put into place by the state at issue. In

Massachusetts, for instance, state conservation regulations aimed at protecting NARWs have

historically been more conservation friendly than federal regulations. See 322 C.M.R. 12.01 et

seq. Lobstermen fishing state waters must also comply with the new TRP rules. See e.g.

Rule_6451. This goes to the heart of Plaintiffs’ misunderstanding: NMFS does not authorize the

activities of lobstermen fishing state waters; all it does is require that if a state has granted a

lobsterman the right to fish in state waters, then the fisher must comply with federal TRP rules

(gear markings, weak rope, sinking ground line, and the like) for their activity in those waters. See

e.g. id. In other words, NMFS is not the “authorizing” or “action” agency for any fishing conduct

that occurs in state waters; all NMFS does is impose additional conservation-minded regulatory

requirements on any fisher who has authorization to fish in state waters. See e.g. ECF No. 202-2

at 14-15 (NMFS brief noting, amongst other things, that “NMFS does not authorize, fund, or carry

out fishing activities in state waters”); see also Strahan v. Pritchard, 473 F. Supp. 2d 230, 236 (D.

Mass. 2007) (“Commercial fishermen must obtain separate licenses for fishing in the waters of

different jurisdictions”).

        That NMFS has no plans to authorize fishing in state waters is clear from the 2021 BiOp.

BiOp_1560. The result of NMFS’ decision is that individual states bear the burden to demonstrate




7
  MALA notes that for historical reasons, Jonah crabbers use the same state and federal permits as
lobster fishers, and use essentially identical gear (with slight modifications). For purposes of
understanding the state versus federal divide, however, Jonah crabbers are functionally identical
to lobstermen and women.

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that their regulatory regimes comply with the ESA’s mandates. Last summer, for instance, the

U.S. District Court for the District of Massachusetts held a trial on an environmental challenge to

the state’s regulatory regime which was brought under the ESA citizen’s suit provision. See

Strahan v. Secretary, Massachusetts Executive Office of Energy & Environmental Affairs, C.A.

No. 1:19-cv-10639 (D. Mass.).

        Massachusetts state waters are, as of August 2021, not included within the Category I

fishery that is comprised of the rest of the American Lobster Fishery. See Federal Register Vol.

86, No. 150 (Aug. 9, 2021); BiOp_1560. This means that going forward, Massachusetts state

waters will be treated differently than other state and federal waters, reflecting the reality of

Massachusetts’ rigorous regulatory scheme. Massachusetts is applying for its own incidental take

permit so that it can continue authorizing lobster fishing in state waters. BiOp_1561. Other states

with fishing that presents a risk to NARWs may follow Massachusetts’ lead. NMFS clearly

expects other states to take this approach, explicitly calling for these states to apply for incidental

take permits. In the 2021 BiOp, NMFS stated that:

       Additionally, to obtain authorization for incidentally taking ESA-listed marine
       mammals, such as right whales, states must apply for an ESA section 10(a)(1)(B)
       incidental take permit for state fisheries. Those applications must include
       conservation plans that specify the anticipated impact of the state fisheries on the
       species and its habitat, measures to monitor, minimize, and mitigate such impacts,
       as well as other information. The Commonwealth of Massachusetts has indicated
       they are preparing an application, and other New England states have expressed
       interest or reached out for information on this process.

BiOp_1560-1. Plaintiffs may not like the approach NMFS has taken: it almost certainly makes

Plaintiffs’ ultimate goal, complete elimination of end lines in American waters, more difficult. But

that frustration does not somehow create agency action in state waters. Because NMFS regulates,

but does not authorize fishing in state waters, the Plaintiffs’ challenge to the 2021 BiOp’s scope

of agency action fails.


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       c.      Plaintiff’s MMPA Claims Rely On A Faulty Reading of Section 1387.

       Plaintiffs’ argument -- that the Final Rule violates the MMPA by failing to include measure

to reduce right whale mortality and serious injury below PBR within six months – simply misreads

the clear text of the MMPA, and should be rejected on that basis. As an initial matter, unlike the

ESA, the MMPA does not contain a citizen’s suit provision – Plaintiffs therefore do not have a

direct right to challenge agency action for failing to comply with the MMPA. See Coxe, 127 F.3d

at 161. In Count VII of the Amended Complaint, Plaintiffs have chosen to challenge NMFS’

alleged MMPA violation under the APA. This Court should not disturb NMFS’ decision,

therefore, unless such action is deemed arbitrary or capricious. Oceana, Inc. v. Pritzker, 24

F.Supp.3d 49, 58-59 (D.D.C. 2014).

       At its heart, Plaintiffs’ MMPA claim is fairly simple: plaintiffs contend that 16 U.S.C. §

1387 requires that NMFS take steps to ensure that (i) within six months of a TRP Rule enactment,

right whale mortality and serious injury in commercial fisheries must be below PBR, and (ii) within

five years of enactment, serious injury and mortality must be reduced to insignificant levels

approaching zero. See ECF No. 188-1 at 29-30, 36. Plaintiffs contend that NMFS’ conduct is

arbitrary and capricious    because its 2021 TRP Amendments do not fulfill these alleged

Congressional mandates. Plaintiffs also challenge NMFS’ regulatory action as “unlawfully

withheld or unreasonably delayed” pursuant to 5 U.S.C. § 706(1).

       In support of their argument, Plaintiffs rely principally on three sub-sections of § 1387:

(f)(2), (5)(A), and 7(F). Those sections read:




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             Statute                                             Text
    16 U.S.C. § 1387(f)(2)       The immediate goal of a take reduction plan for a strategic stock
                                 shall be to reduce, within 6 months of its implementation, the
                                 incidental mortality or serious injury of marine mammals
                                 incidentally taken in the course of commercial fishing operations
                                 to levels less than the potential biological removal level
                                 established for that stock under section 1386 of this title. The
                                 long-term goal of the plan shall be to reduce, within 5 years of its
                                 implementation, the incidental mortality or serious injury of
                                 marine mammals incidentally taken in the course of commercial
                                 fishing operations to insignificant levels approaching a zero
                                 mortality and serious injury rate, taking into account the
                                 economics of the fishery, the availability of existing technology,
                                 and existing State or regional fishery management plans.
    16 U.S.C. § 1387(f)(5)(A)    For any stock in which incidental mortality and serious injury
                                 from commercial fisheries exceeds the potential biological
                                 removal level established under section 1386 of this title, the plan
                                 shall include measures the Secretary expects will reduce, within 6
                                 months of the plan's implementation, such mortality and serious
                                 injury to a level below the potential biological removal level.
    16 U.S.C. § 1387(f)(7)(f)    The Secretary shall amend the take reduction plan and
                                 implementing [sic] regulations as necessary to meet the
                                 requirements of this section, in accordance with the procedures in
                                 this section for the issuance of such plans and regulations.

From this text, Plaintiffs derive a supposed Congressional mandate: NMFS must bring NARW

serious injury and mortality to below PBR within six months of its promulgation. See ECF No.

188-1 at 31. Plaintiffs argue that because NMFS has, in effect, conceded that the Final Rule will

not bring serious injury and mortality to levels below PBR within six months of the amendments’

enactment in September 2021, the Final Rule violates the MMPA.

          This reading misreads the text of § 1387(f), however.8 As an initial matter, and as made

clear in the Maine Lobstermen’s Association’s submission, there remains a serious question

regarding whether the MMPA even contains ongoing mandates. See ECF No. 200-1, at 32-38.

Yet even to the extent that this Court concludes that the MMPA does contain mandates, the text


8
 Others of the intervenor-defendants and defendants have made other valid points regarding the
Plaintiffs’ misreading of § 1387, and incorporates those arguments here by reference.

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above makes clear that § 1387(f)’s sub-sections are not triggered by promulgation of a TRP Rule

or its amendments; rather, the six-month and five-year triggers in § 1387(f) are triggered by full

implementation of the Final Rule. NMFS amended the TRP in September of 2021, but the

implementation of those amendments is, by the terms of the 2021 BiOp and the Final Rule, not

anticipated to conclude for at least ten years. BiOp_1088. NMFS’ obligations under § 1387(f),

therefore, do not begin to run until implementation of the TRP amendments are complete. Indeed,

Plaintiffs effectively concede as much in their briefing. See ECF No. 188-1 at 31 (“Thus, the plain

language and stated purpose of the MMPA requires NMFS to promulgate measures to reduce right

whale mortality and serious injury to below PBR within six months of implementing Large Whale

Plan amendments”).

       A close reading of the MMPA’s text concerning commercial fishing and marine mammals

indicates that Congress intended a very different balancing act than that which Plaintiffs seek to

read into the statutory framework. NMFS, the expert regulatory agency, was tasked with balancing

important commercial interests against important conservation efforts. See Section IV(d)(iii),

infra. To do so, Congress ordered NMFS to create and then implement plans that would promote

these dual goals. The end goal, post-implementation, was clear: limited or no serious injury or

mortality (and by extension, no impact on the recovery of endangered or threatened marine

mammal species). Yet Congress did not expect or intend such solutions to pop into existence

overnight. Rather, Congress recognized that implementation might take years – even decades –

and gave NMFS the infrastructure to do so. Section 1387(f)(7)(E), for instance, mandates that

“[t]he secretary and the take reduction team shall meet every 6 months, or at such other intervals

as the Secretary determines are necessary, to monitor the implementation of the final take reduction

plan until such time as the Secretary determines that the objectives of such plan have been met.”



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Plaintiffs are well aware of the time, effort, and energy that is involved in first drafting and then

implementing a TRP: several of Plaintiffs’ representatives sit on the ALWTRP, and were heavily

involved in the promulgation of the 2021 Final Rule.

       Plaintiffs may argue that Congress cannot have intended for the triggering date to occur

post-implementation, especially of amendments, because NMFS could effectively eliminate its

obligations by continuing to amend the TRP with 10-year additions. Plaintiffs’ fears are misplaced

for at least two reasons. First, the Administrative Procedures Act creates a right of action to

challenge agency action (or inaction) unlawfully withheld or unreasonably delayed. Perhaps more

importantly, however, the MMPA statutory scheme demonstrates that Congress has in fact

provided a safety valve outside of the TRP framework for NMFS to use when an implementation

scheme is not producing sufficiently rapid results or new, unforeseen threats emerged. Specifically,

16 U.S.C. § 1387(g) creates an emergency regulations framework which allows the Secretary of

Commerce and NMFS to promulgate emergency regulations where previous agency action is

insufficient to address an “immediate and significant adverse impact on a stock or species.” 16

U.S.C. § 1387(g). Congress left the exercise of the emergency function outlined in Section 1387(g)

in the hands of the expert agency (NMFS). There is no citizen suit provision allowing parties such

as Plaintiffs to invoke Section 1387(g). Plaintiffs may wish that the executive branch should take

more aggressive action to protect the NARW. Congress, however, did not leave the question of

emergency action in the hands of Article III courts. Instead, it left it to the executive branch to

decide if and when to invoke such emergency powers. This Court should reject Plaintiffs’

invitation to disrupt the balance of power that the legislature has fashioned.

       For the reasons set forth above, Plaintiffs’ claims under § 1387 (to the extent any such

claim is even proper) are not ripe. NMFS’ obligations will not trigger until at least 2031, and until



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that time, any judicial analysis of NMFS’ actions would be premature. For this reason alone, the

Court should dismiss Count VII.

       d.      Even if the Court Rules for Plaintiffs on Liability, It Should Not Vacate the
               2021 BiOp.

       In this Circuit, precedent counsels that the Court should remand without vacatur when

equity so requires. See Advocates for Highway & Auto Safety v. Fed. Motor Carrier Safety Admin.,

429 F.3d 1136, 1151 (D.C. Cir. 2005); Milk Train, Inc. v. Veneman, 310 F.3d 747, 755-56 (D.C.

Cir. 2002). Indeed, where there is a violation of the APA, courts often remand to the agency so

that the agency can address the violation. Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744

(1985); INS. v. Ventura, 537 U.S. 12, 17 (2002) (a reviewing court “seriously disregard[s] the

agency’s legally mandated role” if it denies an agency the “opportunity to address the matter in

the first instance in light of its own expertise”). See also Public Emps for Envtl. Responsibility v.

Boudreau, 25 F. Supp. 3d. 67 (D.D.C. 2014) (allowing agency action under ESA, including

incidental take statement, to remain in place during remand).

       Ultimately, the decision whether to vacate rather than remand without vacatur depends on

the weighing of two factors: “[1] the seriousness of the order’s deficiencies. . . and [2] the

disruptive consequences of an interim change that may itself be changed.” Milk Train, 310 F.3d

at 755-56 (citing Allied-Signal, Inc. v. U.S. Nuclear Regulatory Comm’n, 988 F.2d 146, 150-51

(D.C. Cir. 1993)). Here, even if the Court finds that NMFS has violated the ESA or the MMPA

(via the APA), the disruptive consequences of a vacatur would be severe and the evidence

demonstrates that vacatur is unnecessary.

               i.      The Impact of Vacatur is Uncertain.

       As a preliminary matter, there appears to be significant disagreement amongst the parties

as to what the practical effect of vacatur of the 2021 BiOp would be. NMFS argues that “Plaintiffs’


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request for vacatur of the 2021 BiOp . . . would be tantamount to an injunction closing the entire

federal lobster fishery, and potentially all other fisheries analyzed in the BiOp.” See ECF No. 202-

2, at 45. The State of Maine, by contrast, argues that the proper effect would be that the 2012

Biological Opinion would come back into effect, along with the (less restrictive) 2015 TRP Rule.

See ECF No. 198-1 at 36 (citing Paulsen v. Daniels, 413 F.3d 999, 1008 (9th Cir. 2005)).9

       Given that the Plaintiffs seek to reduce risk to NARWs (and argue that lines in the water

increase risk) it would appear Plaintiffs support NMFS’ reading of the law. See ECF No. 188-1,

at 42-43. For the reasons discussed below, however, both vacatur outcomes (closure of the fishery

or reversion to the 2012 BiOp and 2015 TRP Rule) would cause significant harm and should be

avoided at all costs.

               ii.      Closure of the Federal Lobster Fishery Would Cripple the Coastal
                        Economies and Societies of Massachusetts and the Rest of New England.

       The economic and social impact to coastal communities arising from a closure of the

federal Lobster fishery would be severe and irreversible. The Final Rule already imposes millions

(and perhaps tens of millions) of dollars in compliance costs and lost revenue on these commercial

fisheries, Rule_3911-3912. Even a temporary closure of the federal fishery would likely result in

a complete elimination of these fisheries for the foreseeable future.

                        1.     The Economic Impact of a Closure.

       NMFS, in its Final Environmental Impact Statement, estimated the economic role

ALWTRP-affected species played in a variety of coastal counties in New England, as

demonstrated in Table 6.26 of that document:


9
  See, e.g., Envtl. Def. v. Leavitt, 329 F. Supp. 2d 55, 64 (D.D.C. 2004) (“When a court vacates an
agency’s rules, the vacatur restores the status quo before the invalid rule took effect.”) See (citing
Indep. U.S. Tanker Owners Comm. v. Dole, 809 F.2d 847, 854 (D.C. Cir. 1987)); see also Humane
Soc’y of U.S. v. Kempthorne, 579 F. Supp. 2d 7, 21 (D.D.C. 2008) (reinstating prior regulatory
regime).

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Rule_3903.    In 2020 alone, Massachusetts fishers landed $78,604,366 of live lobster and

$7,059,428 of Jonah crab. See Casoni Decl. at ¶ 13.

       A closure would have wide-ranging economic impacts, effecting not just fishers but also

land-based businesses that rely on the lobster and Jonah crab fisheries. Cities and towns like

Gloucester, MA, where lobster fishing forms the key component of the local economy, face

significant hardship in the event of a closure. See Browne Decl. at ¶¶ 14, 15. Industry-adjacent

businesses would be heavily impacted by a federal closure, and the overall economic impact to

these communities would be significant. See Browne Decl. at ¶¶ 14, 15. The impacts would be

particularly great on families for which more than one member participates in the fishing economy.

See e.g. Browne Decl. at ¶¶ 10, 14, 15.

       Ms. Browne, whose declaration is submitted alongside this memorandum, provides a

useful example of the impact a federal closure might have on coastal communities’ economies.

Browne operates a wholesale lobster operation in Gloucester, MA and is married to a Gloucester

commercial lobsterman. See Browne Decl. at ¶¶ 3, 4, 5, 10. She employs dozens of employees,

and does business with commercial fishers across the North Shore of Massachusetts. See Browne

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Decl. at ¶¶ 7, 9. Closure of the federal fishery would devastate Ms. Browne’s business. See

Browne Decl. at ¶ 14. Such a closure would also negatively impact Ms. Browne’s husband’s

commercial fishing operation, dealing a one-two punch to her family’s economic security. See

Browne Decl. at ¶ 15. Although tragic, Ms. Browne’s story is not uncommon – many families in

coastal communities across New England face a similar fate if the federal fishery is closed. See

Browne Decl. at ¶¶ 10, 15. Perhaps unsurprisingly, a closure of federal waters to fishing year-

round is also likely to force many Massachusetts-based fishers out of business. See e.g. Lorentzen

Decl. at ¶ 15; Browne Decl. at ¶ 15.

       The Jonah crab fishery provides another poignant example of the precarious position

Massachusetts fishers currently face. As discussed above, the Southern New England lobster

fishery collapsed in the 1990s as a result of rapidly warming waters south of Cape Cod.

BiOp_1101. Fishers who had fished for lobster for their entire careers faced the prospect of

unemployment and business failure. Thankfully for these fishers, however, warming waters came

with a silver lining: the Jonah crab, which had previously been a bycatch of lobster fishing,

increased in number. Commercial landings of Jonah crab, particularly in Southern New England,

increased commensurate with this change in the environment. BiOp_1101-1102. In 2020, the

Massachusetts Division of Marine Fisheries reported that Massachusetts fishers landed 8,649,738

pounds of Jonah crab in Massachusetts ports, worth $7,059,428, making Jonah crab the sixth most

valuable target species landed in Massachusetts ports. See Casoni Decl. at ¶ 13.

       These fishers have continued to face hardship because of this litigation. The 2021 Final

TRP Rule, likely enacted in part as a result of this litigation, now creates a new closure area south

of Martha’s Vineyard and Nantucket, called the “South Island Restricted Area.”




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Rule_3702. As Figure 3.4 in NMFS’ Final Environmental Impact Statement makes clear, the new

South Island Restricted Area is closed to trap/pot fishers (including Jonah crab fishers) from

February to April of each year, mirroring the Massachusetts Bay Restricted Area time-space

closure.

       NMFS has noted that the new closure area “capture[s] important winter fishing grounds

for Jonah crab, which has become an important target species in winter months and a major

contributor to revenue for Southern New England fishermen. While a seasonal closure would

likely increase lobster catch rates once an area opens, making up for lost landings during the

closure, Jonah crab landings are limited only by trap and vessel capacity. Catch cannot be made

up during the open fishing season.” Rule_3885. Having survived the trials and tribulations of



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environmental warming and collapse of the SNE lobster population, Jonah crab fishers now face

an unenviable fate: death by regulation. Should the federal fishery close year-round, Jonah crab

fishermen will lose complete access to the vital fishing grounds that have allowed them to survive

blow after blow to date.

                      2.      The Social Impact of a Closure.

       The impact of a year-round closure of federal waters to trap/pot fishing would not solely

be economic: a deep social toll would be exacted as well.         Rule_3900.    Given that these

communities were seriously impacted by the Final Rule, which required gear modifications, it

stands to reason that many would be devastated by a year-round closure of the federal fishery.

NMFS itself has concluded that “ALWTRP gear accounts for ex-vessel revenues of more than

$15 million per year in Essex (Massachusetts), Barnstable (Massachusetts), and Bristol

(Massachusetts) counties, suggesting that adverse [social] impacts in these counties may be

substantial.” Rule_3901 (emphasis added).

       In many Massachusetts coastal communities, fishing for lobster and Jonah crab represents

a multi-generational way of life. See Indicative Ruling at 31-3; Lorentzen Decl. at ¶ 6; Browne

Decl. at ¶ 12. Most lobstering and Jonah crabbing vessels in Massachusetts are owner operated,

with a crew of one to two in addition to the owner/captain of the vessel. Indicative Ruling at 33.

Fishers support families. Lorentzen Decl. at ¶ 3; Browne Decl. at ¶¶ 8, 12. Closure of the federal

fishery runs a serious risk of destroying these communities, and of breaking down the social and

communal networks that have formed over the course of hundreds of years. The men and women

who populate the Massachusetts lobster and Jonah crab fisheries, and their accompanying land-

based enterprises, are a hardy bunch. They have survived a great deal from forces outside of their

control, and continue to try to find a way forward for themselves, their business, their families,

and their communities. A vacatur resulting in the closure of the federal Lobster and Jonah crab

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fishery would wreak catastrophic hardship on these men and women. Equity cannot favor such a

result.

                iii.   Closure of the Fishery Would Not Comply With Congressional Intent.

          The MMPA recognizes that NMFS wears two hats when it comes to the intersection of

marine mammal protection and commercial fisheries management. Recognizing the potential

conflict between the strict terms of the MMPA and the continued operation of commercial

fisheries, Congress specifically provided for “incidental takings” of marine mammals in the course

of commercial fishing operations. See 16 U.S.C. § 1387(a). When amending the MMPA in 1994,

Congressional sponsors explicitly noted that their goal was to keep “our fishermen . . . fishing.”

Statement of Mr. Stubbs, 140 Cong. Rec. H2724 (Apr. 26, 1994); see also Statement of Mr.

Hollings, 140 Cong. Rec. S4923, S4934 (Apr. 26, 1994) (noting that amendments would

strengthen MMPA “without damaging our important commercial fisheries”).              Congress has

articulated a clearly defined, albeit difficult, path for NMFS: it must promote and conserve marine

mammals, but also promote and support commercial fisheries. A vacatur that effectively closes the

federal fishery would not comply with Congress’s dual mandate to NMFS under the MMPA. As

described in fuller detail in Section IV(d)(ii), above, a federal waters closure would do

extraordinary and irreparable harm to commercial fishers, likely ending the American lobster




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fishery in its current form.10 Such a remedy does not keep “our fishermen . . . fishing,” and would

instead damage “our important commercial fisheries.”

               iv.     Reversion to the 2012 BiOp and 2015 TRP Rule Also Would Have
                       Devasting Results.

       The consequences of a vacatur are no better or equitable if this Court concludes that

vacatur revives the regulatory regime in place before the 2021 BiOp and Final Rule. Since the

2014 BiOp was invalidated by this Court in 2020, a vacatur of the 2021 BiOp would plunge the

lobster industry into a confused regulatory environment likely governed by the 2012 Biological

Opinion and 2015 TRP Rule. Yet such reversion makes no sense here, especially where the result

of the reversion would mean fewer rather than more protections for the North Atlantic Right

Whale. See e.g. Humane Soc’y of U.S., 579 F. Supp. at 21 (vacatur may not be appropriate where

reinstatement of prior regulation would cause “confusion or inefficiency”); see also Nat’l Wildlife

Fed’n v. Nat’l Marine Fisheries Serv., 839 F.Supp.2d 1117, 1128-29 (D. Or. 2011).

       Moreover, re-orienting an industry to the regulatory framework that existed ten years ago

will be difficult, if not impossible, especially given the same industry’s recent efforts to adopt the



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   The impact of Plaintiffs’ legal argument may not be limited to the American Lobster industry:
taken to its logical conclusion, Plaintiffs’ challenge under the ESA and the MMPA would counsel
enjoining all economic activity in coastal waters off of the eastern seaboard of the United States
that creates any risk of serious injury or mortality to NARWs. Entanglements are clearly not the
only risk to NARWs. In U.S. waters, gillnets, vessel strikes, and other risks await NARWs even
if all trap/pot fishery gear was removed from state and federal waters tomorrow. BiOp_1560-62.
Enterprising environmental litigants have already sought to enjoin shipping activity in major U.S.
ports and the construction of offshore wind farms with similar legal theories. See e.g. Complaint,
Man Against Xtinction, as Citizen Attorney General v. Mass. Port Authority, C.A. No. 1:21-cv-
10185, ECF No. 1 (Feb. 3, 2021) (suing Massachusetts Port Authority for alleged violations of the
Endangered Species Act arising from vessel strikes of NARWs); Amended Complaint, Strahan v.
Secretary, Executive Office of Energy & Environmental Affairs, C.A. No. 1:19-cv-10639, ECF No.
48 (June 4, 2019) (suing, inter alia, Vineyard Wind LLC and Baystate Wind, LLC, two off-shore
wind farms, for alleged violations of the ESA). Indeed, commercial fisheries like the Lobster
fishery are entitled to additional protections under the MMPA that may not exist for other
economic activity, like shipping and renewable resource development.

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2021 Final Rule. Absent regulatory clarity, lobstermen will not know where or how to fish and

many will not be prepared to accept the risk of fishing in such an environment. The result will be

a severe disruption to the fishing communities.

       Finally, Plaintiffs’ requested relief will do little or nothing to remedy many of the most

significant threats to the NARW species: climate change, vessel strikes, and Canadian snow crab

gear. Accordingly, if the Court grants Plaintiffs summary judgment on liability, it should remand

without vacatur.

               v.     The Equities Strongly Support Remand Without Vacatur.

       For the reasons articulated in Section IV(d)(ii), above, the economic and social impact of

a closure of federal waters would be devastating to New England communities. No facts of similar

weight support vacatur. Thus, under this Court’s precedent, any remand of the 2021 BiOp should

be made without vacatur. See, e.g., Chamber of Commerce of the U.S. v SEC, 443 F.3d 890, 909

(D.C. Cir. 2006) (noting that vacatur not appropriate where it would cause serious disruption to

affected industry and delaying mandate to allow regulatory agency additional time to address

concerns); Milk Train, Inc., 310 F.3d at 756 (granting remand without vacatur after considering

economic harm to dairy farmers); Sugar Cane Growers Cooperative of Fla. v. Veneman, 289 F.3d

89, 97-98 (D.C. Cir. 2002) (considering economic harm to sugar cane growers, processors, and

refiners); A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1492 (D.C. Cir. 1995) (considering economic

harm to producer of an animal drug).

       e.      Ropeless Fishing is Not a Cure-All.

       In response to the chaos and destruction that a closure would cause, Plaintiffs will likely

provide this Court with a seemingly perfect solution: fishers, Plaintiffs will likely claim, can

simply switch to “ropeless” fishing, obviating the need for static lines in the water column and

virtually eliminating the risk to NARWs caused by trap/pot fisheries. Vacatur may even be

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required, Plaintiffs might argue, to force the industry into widespread adoption of this novel

technology. While an enticing thought, “ropeless” technology simply is not ready for wide-spread

adoption, and reliance on ropeless fishing gear as a solution to entanglement risk (and as an

equitable factor weighing in favor of vacatur) ignores the economic realities of the fishing industry.

        As noted above, NMFS estimates that by 2025, only 33 vessels total will be fishing with

ropeless gear in federal waters – less than 1% of the total fleet fishing in the Northeast Fishery.

Rule_6449 -- and 30 of these 33 vessels – 90% -- will be fishing in collaboration with NMFS,

meaning that NMFS anticipates that only three fishers will have paid to adopt ropeless technology

in the next three years. Id. For practical purposes, then, NMFS acknowledges that ropeless fishing

is still years away from being commercially viable – and the numbers bear that conclusion out. As

NMFS acknowledges, outfitting a single vessel with ropeless technology would cost between

$55,000 and $240,000 per vessel. BIOP_3308. The District of Massachusetts found last summer

that the total cost could approach $160,000 per vessel, and that such technology was commercially

impracticable for widespread adoption at this time. See Indicative Ruling at 31. And even if the

clear economic barriers to widespread adoption were somehow overcome, ropeless fishing

presents additional gear conflict concerns with other fisheries that have not been fully resolved at

this time. See Casoni Decl. at ¶ 20. Simply put: ropeless fishing is not ready for widespread use,

and should not factor into this Court’s equitable analysis when considering vacatur of the 2021

BiOp.

V.      CONCLUSION

        For the reasons stated herein, MALA respectfully requests that this Court enter the order

accompanying this memorandum, denying plaintiffs’ request for summary judgment.

Furthermore, to the extent that this Court finds in favor of Plaintiffs, MALA respectfully requests

that any remand instruction be given without vacatur of the 2021 Biological Opinion.

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                                    Respectfully submitted,

                                    MASSACHUSETTS LOBSTERMEN’S
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Dated: February 22, 2022




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of February, 2022, I electronically filed the foregoing

with the Clerk of the District Court using the CM/ECF filing system, which sent notification of

such filing to all counsel of record and pro se individuals with CM/ECF privileges.

                                              /s/ Nicholas J. Nesgos

                                              Nicholas J. Nesgos




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